






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00582-CR


NO. 03-07-00583-CR







Quentin Charles Hayes, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NOS. D-1-DC-06-204935 &amp; D-1-DC-06-302051


HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Quentin Charles Hayes seeks to appeal judgments of conviction for aggravated
robbery.  In both cases, sentence was imposed on August 16, 2007.  There was no motion for new
trial.  The deadline for perfecting the appeals was therefore September 17, 2007.  See Tex. R. App.
P. 26.2(a)(1); see also Tex. R. App. P. 4.1(a).  Notices of appeal were filed on September 25, 2007. 
No extension of time for filing was requested.  Tex. R. App. P. 26.3.  There is no indication that
the&nbsp;notices of appeal were properly mailed to the district clerk within the time prescribed by rule
26.2(a).  Tex. R. App. P. 9.2(b).  Under the circumstances, we lack jurisdiction to dispose of the
purported appeals in any manner other than by dismissing them for want of jurisdiction.  See Slaton
v. State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State, 918 S.W.2d 519, 522-23
(Tex.&nbsp;Crim. App. 1996).

The appeals are dismissed.


				__________________________________________

				Bob Pemberton, Justice

Before Justices Patterson, Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   November 29, 2007

Do Not Publish


